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 UNITED STATES DISTRICT COURT                       EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA,                      '
                                                '
                       Plaintiff,               '
                                                '
 v.                                             '          NO. 1:17-CR-48(4)
                                                '
 HAZEM ZIAD AWAWDEH,                            '
                                                '
                       Defendant.               '

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

 Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

 Plea Before the United States Magistrate Judge. The magistrate judge recommended that the

 court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

 Defendant guilty on Count One of the Information filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

 agreement until after review of the presentence report.

        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Hazem Ziad Awawdeh (4), is
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 adjudged guilty as to Count One of the Information charging a violation of 18 U.S.C. § 1343
           .
 (Wire Fraud).
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.

         SIGNED at Plano, Texas, this 8th day of February, 2018.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
